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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE APPLICATION
 OF THE ASSOCIATED PRESS; CABLE
 NEWS NETWORK, INC.; THE NEW YORK                        Misc. Action No. 19-0029 (CRC)
 TIMES CO.; POLITICO LLC; AND WP
 CO., LLC, d/b/a THE WASHINGTON POST
 FOR ACCESS TO CERTAIN SEALED
 COURT RECORDS

                                      PROPOSED ORDER

       Upon consideration of the government’s motion for an order setting a deadline for the

government to propose redactions to the materials sought by the movants, it is hereby

ORDERED that the motion is GRANTED. It is FURTHER ORDERED that on or before

March 6, 2020, the government shall file ex parte and under seal proposed redactions to the

relevant materials, as well as a notice on the public docket explaining the basis for any continued

request to seal portions of the relevant materials.



                                               _________________________
                                               THE HONORABLE CHRISTOPHER R. COOPER
                                               United States District Judge




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